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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

THOMAS GEBKA, Individually and on          )
behalf of all others similarly situated,   )
                                           )
                      Plaintiff,           )   Case No. 1:19-cv-06662
                                           )
       v.                                  )   Hon. Sharon J. Coleman
                                           )
ALLSTATE INSURANCE COMPANY,                )   Mag. Jeffrey I. Cummings
                                           )
                                           )
                      Defendant.           )



    ORDER (1) CONDITIONALLY CERTIFYING A SETTLEMENT CLASS, (2)
 PRELIMINARILY APPROVING CLASS ACTION SETTLEMENT, (3) APPROVING
       NOTICE PLAN AND (4) SETTING FINAL APPROVAL HEARING
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       This matter came before the Court on Plaintiff’s Motion for Preliminary Approval of the

proposed class action settlement (the “Settlement”) of the case styled and captioned Gebka v.

Allstate Insurance Company, United States District Court for the Northern District of Illinois

Eastern Division Case No. 1:19-cv-06662 (the “Action”). The Action was brought by Plaintiff

Thomas Gebka (“Gebka” or “Class Representative”), individually and on behalf of all others

similarly situated, against defendant Allstate Insurance Company (“Allstate” and, together with

Plaintiffs, the “Parties”). Based on this Court’s review of the Parties’ Settlement Agreement and

Release (the “Agreement”), Plaintiff’s Motion for Preliminary Approval of Settlement, and the

arguments of counsel and good cause having been shown, THE COURT HEREBY FINDS AND

ORDERS AS FOLLOWS:
    1.      Settlement Terms. Unless otherwise defined herein, all terms in this Order shall

have the meanings ascribed to them in the Agreement.

       2.        Jurisdiction. The Court has jurisdiction over the subject matter of the Action, the

Parties, and all persons in the Settlement Class.

       3.        Scope of Settlement. The Agreement resolves all claims that arise out of or relate

in any way to Allstate or anyone allegedly acting on its behalf making telephone calls based on

leads provided by, through, and/or directed by Richardson Marketing Group and related entities

where the person’s telephone number was registered on a Do Not Call registry for more than 31

days before the first call. The Settlement Class does not include any claims for Prerecorded calls

that were alleged in the Second Amended Complaint, other than the individual claims of Gebka.

       4.        Preliminary Approval of Proposed Agreement. The Court has conducted a

preliminary evaluation of the Settlement as set forth in the Agreement. Based on this preliminary

evaluation, the Court finds that: (a) the Agreement is fair, reasonable and adequate, and within the

range of possible approval; (b) the Agreement has been negotiated in good faith at arm’s length

between experienced attorneys familiar with the legal and factual issues of this case; and (c) with
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respect to the forms of notice of the material terms of the Settlement to persons in the Settlement

Class for their consideration (Exs. 1, 3 and 5 to the Agreement), that notice is appropriate and

warranted. Therefore, the Court grants preliminary approval of the Settlement.

       5.         Class Certification for Settlement Purposes Only. The Court, pursuant to Rule

23 of the Federal Rules of Civil Procedure, conditionally certifies, for purposes of this Settlement

only, the following Settlement Class:

       The approximately 7,451 individuals to whom: (a) Allstate or anyone allegedly acting on
       its behalf made at least two telephone calls based on leads provided by, through, and/or
       directed by Richardson Marketing Group and related entities within a 12-month period (b)
       promoting Allstate insurance (c) between October 8, 2015 and present (d) where the
       person’s telephone number was registered on a Do Not Call registry for more than 31 days
       before the first call.

       Excluded from the Settlement Class are the Judge to whom the Action is assigned and any
       member of the Court’s staff and immediate family (to the extent they received a listed call),
       all persons who have opted-out of the Settlement Class pursuant to the requirements set
       forth in Section 13.1 of the Settlement Agreement, and individuals whose claims would be
       or are included in any other settlement.

       6.         In connection with this conditional certification, the Court makes the following

preliminary findings:

               (a)      The Settlement Class consists of over 7,000 natural persons and is so

numerous that joinder of all members is impracticable;

               (b)      There appear to be questions of law or fact arising under the TCPA common

to the Settlement Class for purposes of determining whether the Settlement should be approved;

               (c)      Plaintiff’s claims appear to be typical of the claims being resolved through

the Settlement;

               (d)      Plaintiff appears to be capable of fairly and adequately protecting the

interests of all members of the Settlement Class in connection with the Settlement;
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               (e)     For purposes of determining whether the Agreement is fair, reasonable and

adequate, common questions of law and fact appear to predominate over questions affecting only

individual persons in the Settlement Class. Accordingly, the Settlement Class appears to be

sufficiently cohesive to warrant settlement by representation; and

               (f)     For purposes of the Settlement, certification of the Settlement Class appears

to be superior to other available methods for the fair and efficient settlement of the claims of the

Settlement Class.

       7.        Class Representative.     The Court appoints Thomas Gebka to act as the

representative of the Settlement Class pursuant to Rule 23 of the Federal Rules of Civil Procedure.

       8.        Class Counsel. The Court appoints Keogh Law, Ltd., as Class Counsel pursuant

to Rule 23 of the Federal Rules of Civil Procedure.

       9.        Final Approval Hearing. At 9:15 a.m. (central) on September 23, 2022, in Room

1241, Everett McKinley Dirksen United States Courthouse, 219 South Dearborn Street, Chicago,

IL 60604, or at such other date and time later set by Court Order, this Court will hold a Final

Approval Hearing on the fairness, adequacy, and reasonableness of the Agreement and to

determine whether (a) final approval of the Settlement embodied by the Agreement should be

granted, and (b) Class Counsel’s application for attorneys’ fees and expenses, and service award

to Plaintiff, should be granted, and in what amount. On the Notice Date set forth below, Plaintiff

must file papers in support of Class Counsel’s application for attorneys’ fees and expenses and the

service award to the Plaintiff. No later than September 9, 2022, which is fourteen (14) days prior

to the Final Approval Hearing, papers in support of final approval of the Settlement and response

to any written objections must be filed.
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       10.       Settlement Claims Administrator. KCC Class Action Services, LLC is hereby

appointed as the Claims Administrator and shall be required to perform all the duties of the Claims

Administrator, as set forth in the Agreement and this Order.

       11.       Class Notice. The Court approves the proposed plan for giving notice to the

Settlement Class by directly mailing two rounds of post cards with attached claim forms and a

reminder E-mail notice, combined with a Settlement Website, as more fully described in Plaintiff’s

Motion and the Agreement (“Notice Plan”). The Notice Plan, in form, method and content,

complies with the requirements of Rule 23 of the Federal Rules of Civil Procedure and due process,

and constitutes the best notice practicable under the circumstances. The Court hereby directs the

Parties and the Claims Administrator to complete all aspects of the Notice Plan no later than June

9, 2022 (“Notice Deadline”).

       12.        The Claims Administrator will file with the Court by no later than September 9,

2022, which is fourteen (14) days prior to the Final Approval Hearing, proof that notice was

provided in accordance with the Agreement and this Order.

       13.       Opt-Out and Objection Deadline. Persons in the Settlement Class who wish to

either object to the Settlement or request exclusion from the Settlement Class must do so by August

8, 2022, which is sixty (60) calendar days after the Notice Deadline. Persons in the Settlement

Class may not both object and opt-out. If a person both requests to opt-out and objects, the request

to opt-out will control.

       14.       Exclusion from the Settlement Class. To request exclusion from the Settlement

Class, a person in the Settlement Class must send a written request to the Claims Administrator at

the address designated in the Class Notice no later than the Opt-Out and Objection Deadline.

Exclusion requests must: (i) be signed by the person in the Settlement Class who is requesting
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exclusion; (ii) include the full name and address of the person in the Settlement Class requesting

exclusion; and (iii) include the following statement: “I/we request to be excluded from the

settlement in the Allstate TCPA action.” No request for exclusion will be valid unless all of the

information described above is included. No person in the Settlement Class, or any person acting

on behalf of or in concert or participation with that person in the Settlement Class, may exclude

any other person in the Settlement Class from the Settlement Class. In the event that the number

of persons in the Settlement Class who validly and timely submit opt-out requests exceeds forty

(40) class members, Allstate shall have the right, but not the obligation, to terminate this

Agreement.

       15.       The Claims Administrator will retain a copy of all requests for exclusion. Not

later than fourteen (14) days before the Final Approval Hearing, the Claims Administrator will file

under seal with the Court a declaration that lists all of the exclusion requests received.

       16.       If a timely and valid exclusion request is made by a person in the Settlement

Class, then the Agreement and any determinations and judgments concerning the Settlement will

not bind the excluded person.

       17.       All Settlement Class Members will be bound by all determinations and judgments

concerning the Settlement.

       18.       Objections to the Settlement. To object to the Settlement, Class Members must

follow the directions below and in the Class Notice and file a written objection with the Court by

the Opt-Out and Objection Deadline. The objection must also be mailed to each of the following,

postmarked no later than the last day to file the objection: (i) Class Counsel – Keogh Law, Ltd.,

55 W. Monroe, Ste. 3390, Chicago, Illinois 60603; and (ii) Allstate’s Counsel – Eversheds

Sutherland (US) LLP, c/o Lewis Wiener and Frank Nolan, 700 6th Street, NW, Washington, DC
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20001. An objection must: (A) Attach documents establishing, or provide information sufficient

to allow the Parties to confirm, that the objector is a Settlement Class Member, including providing

the Claim ID, full name, address, the cellular telephone number called, and whether he or she

intends to appear at the fairness hearing on his or her own behalf or through counsel; (B) Include

a statement of such Settlement Class Member’s specific objections; and (C) State the grounds for

objection and attach any documents supporting the objection. Any Settlement Class Member who

fails to comply with Paragraph 18 will not be permitted to object to the Settlement at the Final

Approval Hearing, will be foreclosed from seeking any review of the Settlement by appeal or other

means, will be deemed to have waived his, her or its objections, and will be forever barred from

making any objections in the Action or any other related action or proceeding. All Settlement

Class Members will be bound by all determinations and judgments in the Action, whether

favorable or unfavorable to the Settlement Class.

          19.    For any objection filed, the Clerk of the Court is ordered to redact any social

security number, the street address, telephone number and last name except first letter of last name

in order to protect the objector’s privacy. The objector’s first name and city, state and zip code,

as well as the objection, will not be redacted.

          20.    Stay of Other Proceedings. Pending the final determination of whether the

Settlement should be approved, all pre-trial proceedings and briefing schedules in the Action are

stayed.

          21.    Pending the final determination of whether the Settlement should be approved or

until a class member validly excludes themselves from the Settlement Class, Plaintiff and all

persons in the Settlement Class are hereby stayed and enjoined from commencing, pursuing,

maintaining, enforcing or prosecuting, either directly or indirectly, any Released Claims in any
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judicial, administrative, arbitral or other forum, against any of the Released Parties. Such

injunction will remain in force until the Court enters the Final Approval Order or until such time

as the Parties notify the Court that the Settlement has been terminated. Nothing herein will prevent

any person in the Settlement Classes, or any person actually or purportedly acting on behalf of any

such person(s), from taking any actions to stay or dismiss any Released Claim(s). This injunction

is necessary to protect and effectuate the Agreement, this Preliminary Approval Order, and the

Court’s flexibility and authority to effectuate the Agreement and to enter judgment when

appropriate, and is ordered in aid of this Court’s jurisdiction and to protect its judgments. This

injunction does not apply to any person who requests exclusion from the Settlement.

       22.       If for any reason whatsoever this Settlement is not finalized or the Settlement as

detailed in the Agreement is not finally approved by the Court, the certification of the Settlement

Class shall be void and the Parties and the Action will return to the status quo as it existed prior to

the Agreement, and no doctrine of waiver, estoppel or preclusion will be asserted in any

proceedings, in response to any motion seeking class certification, any motion seeking to compel

arbitration or otherwise asserted at any other stage of the Action or in any other proceeding. No

agreements, documents or statements made by or entered into by any Party in connection with the

Settlement may be used by Plaintiff, any person in the proposed Settlement Class, Allstate or any

other person to establish liability, any defense and/or any of the elements of class certification,

whether in the Action or in any other proceeding.

       23.       In the event that the Settlement is not approved, or is terminated, canceled or fails

to become effective for any reason, the money remaining in the Settlement Fund (including

accrued interest), less reasonable administrative expenses incurred or due and owing and payable
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from the Settlement Fund in accordance with the Agreement, shall be returned to Allstate within

15 days of the event that causes the Agreement to not become effective.

       24.       No Admission of Liability.      The Agreement and any and all negotiations,

documents, and discussions associated with it, will not be deemed or construed to be an admission

or evidence of any violation of any statute, law, rule, regulation or principle of common law or

equity, or of any liability or wrongdoing by Allstate, or the truth of any of the claims. Evidence

relating to the Agreement will not be discoverable or used, directly or indirectly, in any way,

whether in the Action or in any other action or proceeding, except for purposes of demonstrating,

describing, implementing or enforcing the terms and conditions of the Agreement, this Order, and

the Final Approval Order.

       25.       Reasonable Procedures to Effectuate the Settlement.         Counsel are hereby

authorized to use all reasonable procedures in connection with approval and administration of the

Settlement that are not materially inconsistent with this Order or the Agreement, including making,

without further approval of the Court, minor changes to the form or content of the Class Notice

and Claim Form and other exhibits that they jointly agree are reasonable and necessary. The Court

reserves the right to approve the Agreement with such modifications, if any, as may be agreed to

by the Parties without further notice to persons in the Settlement Class.

       26.       Schedule of Future Events. Accordingly, the following are the deadlines by

which certain events must occur:


 June 9, 2022            Deadline for notice to be provided in accordance with the Agreement
 [45 days after the      and this Order (Notice Deadline)
 date of this Order]
 June 9, 2022            Deadline for filing of Plaintiff’s Motion for Attorneys’ Fees and Costs
 [Notice Deadline]       and Service Award
 August 8, 2022          Deadline to file objections or submit requests for exclusion (Opt-Out
                         and Objection Deadline)
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[60 days after the
Notice Deadline]
August 8, 2022       Deadline for Class Members to Submit a Claim Form (Claim Period)
[60 days after the
Notice Deadline]
September 7, 2022    Deadline for Parties to file the following:
[30 days after the      (1) List of persons who made timely and proper requests for
Opt-Out          and        exclusion (under seal);
Objection Deadline]     (2) Proof of Class Notice; and
                        (3) Motion and memorandum in support of final approval, including
                            responses to any objections.
September 23, 2022 Final Approval Hearing
at 9:15 a.m.
[No earlier than 149
days from the entry
of this Order]


     IT IS SO ORDERED.



Dated: 4/25/2022
                                        Sharon Johnson Coleman
                                        United States District Judge
